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5
6    Attorneys for Defendant
     RATHANAK VAN
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:13-cr-078 MCE
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   RATHANAK VAN,                                       RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant
                                                         Judge: Honorable MORRISON C. ENGLAND, JR.
16
17             Defendant, RATHANAK VAN, by and through his attorney, Hannah R. Labaree, and
18   plaintiff, UNITED STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney
19   Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On May 22, 2014, this Court sentenced Mr. Van to a term of 135 months

25   imprisonment;

26             3.         Pursuant to his plea agreement under Federal Rule of Criminal Procedure

27   11(c)(1)(C), his total offense level was 31, his criminal history category was I, and the resulting

28   guideline range was 108 to 135 months;

     Stipulation and Order Re: Sentence Reduction         1
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1              4.         The sentencing range applicable to Mr. Van was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Van’s total offense level has been reduced from 31 to 29, and his amended
5    guideline range is 87 to 108 months. He is subject to the statutory mandatory minimum of 120
6    months;
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Van’s term of imprisonment to a total term of 120 months.
9    Respectfully submitted,
10   Dated: April 12, 2016                              Dated: April 12, 2016
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13    /s/ Jason Hitt                                    /s/ Hannah R. Labaree__
     JASON HITT                                         HANNAH R. LABAREE
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           RATHANAK VAN
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                 ORDER
               This matter came before the Court on the stipulated motion of the defendant for reduction
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     of sentence pursuant to 18 U.S.C. § 3582(c)(2).
3
               The parties agree, and the Court finds, that Mr. Van is entitled to the benefit Amendment
4
     782, which reduces the total offense level from 35 to 33, resulting in an amended guideline range
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     of 87 to 108 months. He is subject to the statutory mandatory minimum of 120 months.
6
               IT IS HEREBY ORDERED that the term of imprisonment imposed in May 2014 is
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     reduced to a term of 120 months, a sentence that is fair and reasonable under 18 U.S.C. §
8
     3553(a).
9
               IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
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     remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
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     reduction in sentence, and shall serve certified copies of the amended judgment on the United
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     States Bureau of Prisons and the United States Probation Office.
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               Unless otherwise ordered, Mr. Van shall report to the United States Probation Office
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     within seventy-two hours after his release.
15
               IT IS SO ORDERED.
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     Dated: April 13, 2016
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     Stipulation and Order Re: Sentence Reduction      3
